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 6 United States of America

 7
                                 IN THE UNITED STATES DISTRICT COURT
 8
                                    EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                           CASE NO. 1:16-CR-00094 LJO-SKO
11                                 Plaintiff,            STIPULATION TO CONTINUE TRIAL
                                                         SETTING
12                          v.
13   OTONIEL CARDENAS TORRES, AND                        Date: June 10, 2019
     ROBERTO PALACIOS-GARCIA,                            Time: 8:30 a.m.
14                                                       Honorable Lawrence J. O’Neill
                                   Defendants.
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16

17          The United States of America, by and through McGREGOR W. SCOTT, United States Attorney,

18 and KATHLEEN A. SERVATIUS, Assistant United States Attorney, and the defendants Roberto

19 Palacios-Garcia, by and through attorney of record David A. Torres, and Otonial Cardenas Torres, by

20 and through his attorney of record, Erin Snider, Assistant Federal Defender, hereby stipulate to

21 reschedule the trial setting in this case from June 10, 2019 and July 10, 2019 advanced to June 17, 2019

22 and further request that the hearing be set before the Honorable Sheila K. Oberto in light of the

23 unavailability of the Honorable Lawrence J. O’Neill.

24          The parties request that time be excluded between June 10, 2019 and June 17, 2019 for the

25 following reasons: defendant Otoniel Cardenas Torres is attempting to retain new counsel and setting of

26 a trial date requires the involvement of his new attorney. In light of the need for new counsel to be

27 present and new counsel’s unavailability to participate in the trial setting on June 10, 2019 due to the

28 need to formalize his relationship with the defendant, the parties agree that time should be excluded.

      STIPULATION TO CONTINUE TRIAL SETTING AND
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 1           The parties request a trial setting in advance of that currently set before the Honorable Lawrence
 2 J. O’Neill given that the crimes alleged in the indictment occurred in 2016 and the desire to proceed

 3 timely.

 4           The parties further believe that time should be excluded until June 17, 2019, in that failure to
 5 grant the requested re-scheduling would unreasonably deny Otoniel Cardenas Torres the ability to retain

 6 counsel of choice and due to the unavailability of such counsel. 18 U.S.C. Section 3161(h)(7)(B)(iv).

 7 Based on the above-stated findings, the ends of justice served by the schedule as requested outweigh the

 8 interest of the public and the defendant in a trial within the original date prescribed by the Speedy Trial

 9 Act. Therefore, the parties request that the Court exclude the time until the new trial setting date from

10 calculations under the Speedy Trial Act.

11    Dated: June 7, 2019                                     McGREGOR W. SCOTT
                                                              United States Attorney
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13                                                            /s/ Kathleen A. Servatius
                                                              KATHLEEN A. SERVATIUS
14                                                            Assistant United States Attorney

15
     Dated: June 7, 2019                                   /s/ Erin Snider
16                                                         Attorney for Otoniel Cardenas Torres

17 Dated: June 7, 2019                                     /s/ David A. Torres
                                                           Attorney for Roberto Palacios Garcia
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19
                                                      ORDER
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             IT IS HEREBY ORDERED that the trial setting in this case be continued from June 10, 2019
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     before the Honorable Lawrence J. O’Neill to June 17, 2019 at 1:00 p.m., before the Honorable Sheila K.
22
     Oberto.
23
             IT IS FURTHER ORDERED THAT the ends of justice served by the schedule set forth herein as
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     requested outweigh the interest of the public and the defendants in a trial within the original date
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     prescribed by the Speedy Trial Act for the reasons stated in the parties’ stipulation. For the purpose of
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     computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq., within which trial must
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     commence, the time period of June 10, 2019 and June 17, 2019, inclusive, is deemed excludable
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     pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) because it results from a continuance granted by the Court
      STIPULATION TO CONTINUE TRIAL SETTING AND
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 1 at the parties’ request on the basis of the Court’s finding that the ends of justice served by taking such

 2 action outweigh the best interest of the public and the defendant in a speedy trial.

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     IT IS SO ORDERED.
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 6      Dated:     June 10, 2019                             /s/ Lawrence J. O’Neill _____
                                                  UNITED STATES CHIEF DISTRICT JUDGE
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      STIPULATION TO CONTINUE TRIAL SETTING AND
      ORDER
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